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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

                                                               CIVIL ACTION NO.
                                                               1:08 CA 10684 MBB


LIONEL ROGERS,
     Plaintiff

v.

GERALD L. COFIELD,
    Defendant


        DEFENDANT’S MOTION TO STRIKE POTIONS OF THE DEPOSITION
                    TESTIMONY OF ISABEL MERCADO

       In anticipation of the Plaintiff’s expected use at trial of the deposition testimony given by

Isabel Elizabeth Mercado on August 5, 2009, the Defendant hereby moves this Honorable Court

to strike certain portions of that deposition testimony. Specifically, the Defendant requests that

the follow statements be stricken and not read to the jury:

P. 15, ¶¶ 13-14: “The cops were really aggressive.”

REASON FOR STRIKING: First, this statement is non-responsive to the question.                  The

question asked the deponent was a simple foundation question: “Do you recall the events that

took place at the B-2 police station on December 5, 2004?” The question called for a single yes

or no answer. Instead of providing a yes or no answer, the deponent went on a narrative that

lasted for 20 lines. Second, the statement by the deponent is lay opinion testimony which not

necessary for a clear understanding of the witness' testimony or the determination of a fact in

issue. Therefore, it should be stricken from the deposition.

P. 22, ¶¶ 2-9: “QUESTION: Would you describe him as verbally abusive in your opinion.

               ANSWER: In my opinion, yes; in my opinion, yes.

               QUESTION: Why is that?
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               ANSWER: Because he is the officer. He didn’t have to act the way Lionel acted.

               He was supposed to defuse the situation. He was supposed to calm him down, not

               act that way.”

REASON FOR STRIKING: This statement by the deponent about a police officers job duties

and what he should have or should not have done is clearly lay opinion testimony which is not

necessary for a clear understanding of the witness’s testimony or the determination of a fact in

issue. All that is required for the jury to make a determination of a false arrest and excessive

force is what happened and what the law is. Ms. Mercado’s opinion on what Ofc. Cofield should

have or shouldn’t have done is completely outside the bounds of any possible useful lay opinion

testimony. Therefore, it is inadmissible.



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                                            Respectfully submitted,
CERTIFICATE OF SERVICE
                                            DEFENDANT, GERALD COFIELD
I hereby certify that on this day a         William F. Sinnott, Corporation Counsel
true copy of the above document
was served upon plaintiff’s counsel         By his attorneys:
by hand.
                                            /s/ Ian D. Prior
                                            ___________________________________
4/3/2011    /s/ Ian D. Prior                Ian D. Prior, BBO # 655704
Date        Ian D. Prior                    Lisa Skehill Maki, BBO #675344
                                            Assistant Corporation Counsel
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                        Certificate of Compliance With Local Rule 7.1

        I hereby certify that pursuant to Local Rule 7.1, on April 2, 2011 counsel attempted to
confer in good faith with opposing counsel to resolve or narrow the issues presented herein but
was unable to do so.


4/3/2011                                                    /s/ Ian D. Prior
Date                                                        Ian D. Prior




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